
*946OPINION.
Ahóndele
: The only evidence offered by the petitioner in support of its claim for the valuation of its building at a figure higher than that at which it was carried on the books of the predecessor partnership was the statement of the president of the company that an appraisal was made in 1911, the time of acquisition of the building, by the superintendent, who was an engineer. This evidence is not sufficient to permit our finding as a fact that the value of the petitioner’s building is the amount which it claims, either as of the date of acquisition for invested capital purposes, or as of March 1, 1913, for depreciation purposes. Appeals of Kilburn Lincoln Machine Co., 2 B. T. A. 363, and Rockford Malleable Iron Works, 2 B. T. A. 817.
The petitioner claims the right to deduct from income for the fiscal year ended June 30, 1921, all the shipments of defective matches which were returned during the calendar year 1920. Some of these shipments were received in the fiscal year 1920 and the total of the returned shipments was charged off in the fiscal year 1922. The evidence is to the effect that the petitioner accepted the word of the jobber that the matches returned were defective, although it later made an inspection and then destroyed them. Under this state of facts any loss on the returned shipments was sustained in the taxable year in which the shipments were received, and the amount of the loss on each shipment could have been then determined. Accordingly, we find no error on the part of the Commissioner in refusing to allow a deduction during the fiscal year 1921 on account of the shipments returned prior to the beginning of that year.
No evidence was offered to show that the computation of the Commissioner, whereby he reduced invested capital on account of taxes for prior years, is not in accordance with the method prescribed by article 845 of Regulations 62, which has been approved by section 1207 of the Revenue Act of 1926. Appeal of Russel Wheel &amp; Foundry Co., 3 B. T. A. 1168.
Judgment for the Commissioner,
